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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

In re                                                        :       Chapter 11
                                                             :
LATEX FOAM INTERNATIONAL, LLC,                               :       Case No. 19-
PURELATEX BLISS, LLC,                                        :       Case No. 19-
LATEX FOAM INTERNATIONAL HOLDINGS, INC,                      :       Case No. 19-
PLB HOLDINGS, LLC, and                                       :       Case No. 19-
LATEX FOAM ASSETS ACQUISITION, LLC                           :       Case No. 19
                                                             :
                               Debtors.                      : (Joint Administration Requested)

               EX-PARTE APPLICATION OF THE DEBTORS FOR ORDER
             DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

        Latex Foam International Holdings, Inc. (“LFI Holdings”), Latex Foam International, LLC

(“LFI”), PLB Holdings, LLC (“PLB Holdings”), Pure Latex Bliss, LLC (“PLB”) and Latex Foam

Assets Acquisition, LLC (“Acquisition”), debtors and debtors-in-possession, (collectively,

“Debtors”), by and through their proposed undersigned counsel, pursuant to Federal Rule of

Bankruptcy Procedure 1015(b) and Local Bankr. R. 1015-1, hereby move (the “Motion”) that the

Court order joint administration of their estates. Pursuant to Local Bankr. R. 1015-1, the Debtors

attach hereto as Exhibit A and incorporate herein by reference the Affidavit of Marc Navarre (the

“Navarre Aff.”), CEO of the Debtors, setting forth facts warranting the joint administration of the

above-captioned chapter 11 cases (the “Chapter 11 Cases”). In support of their Motion, the Debtors

respectfully represent the following:

                            BACKGROUND AND JURISDICTION

        1.     On August 8, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under Chapter 11 of Title 11 of the United States Code (such title hereinafter referred to as

the “Bankruptcy Code”). Pursuant to Bankruptcy Code §§ 1107(a) and 1108, the Debtors continue
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to operate their businesses and manage their properties, affairs, and assets as debtors-in-possession.

No trustee, examiner, or committee has been appointed in these cases.

       2.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue is proper in this Court for these cases and this motion pursuant to 28 U.S.C. §§ 1408 and

1409, respectively.

       3.      The Debtors are headquartered in Shelton, Connecticut. (Navarre Aff. at ¶ 2.) LFI

Holdings is a holding company for one hundred percent of the equity interests in LFI and PLB

Holdings, and an inactive entity, Dunlop Latex Foam SDN.BHD, located in Malaysia. LFI owns

one hundred percent of the equity interests in Acquisition. PLB Holdings is a holding company

for one hundred percent of the equity interests in PLB. (Id. at ¶ 2.)

       4.      LFI manufactures foam mattresses and components for mattresses.                 It has

approximately 150 employees. (Id. at ¶ 3.) PLB functions as a sales office for the sale and

distribution of finished mattresses. Acquisition owns certain assets but does not operate. (Id. at ¶

3.)

       5.      The Debtors previously filed for chapter 11 relief in this Court on May 30, 2014,

which cases were jointly administered under case no. 14-50845. On December 3, 2015, this Court

entered an order confirming the Modified Second Amended Joint Plan of Reorganization of

Debtors and Official Committee of Unsecured Creditors (the “Plan”) (case no. 14-50845, ECF

Nos. 468, 501), and the Plan was substantially consummated (case no. 14-50845, ECF No. 714).

       6.      Entrepreneur Growth Capital, LLC (“EGC”) asserts secured claims of

approximately $9,300,000 against the Debtors’ assets.




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       7.      Due to an unanticipated shift of the mattress industry towards disruptive, lower-

priced mattresses, however, the Debtors revenues decreased to the point where they were in danger

of violating a financial covenant with EGC and thereby jeopardizing their continued operations.

                                     REQUESTED RELIEF

       8.      Federal Rule of Bankruptcy Procedure 1015(b)(4) provides that “[i]f . . . two or

more petitions are pending in the same court by . . . a debtor and an affiliate, the court may order

a joint administration of the estates.” The Debtors are all affiliates of one another as that term is

used in Fed. R. Bankr. P. 1015(b). See 11 U.S.C. § 101(2); Fed. R. Bankr. P. 9001.

       9.      Joint administration is appropriate here where the Debtors are interrelated

businesses that simultaneously commenced their Chapter 11 cases. Jointly administering these

estates will avoid the time and expense of duplicate motions and applications, entering duplicate

orders and sending of duplicate notices to creditors. See, e.g., In re I.R.C.C., Inc., 105 B.R. 237,

238 (Bankr. S.D.N.Y. 1989) (joint administration promotes administrative convenience without

affecting substantive rights); In re Stuery, 94 B.R. 553, 554 (Bankr. N.D. Ind. 1988) (same); In re

Parkway Calabasas Ltd., 89 B.R. 832, 836 (Bankr. C.D. Cal. 1988) (same), aff’d. 949 F.2d 1058

(9th Cir. 1991).

       10.     The rights of respective creditors of the Debtors will not be adversely affected by

joint administration of these cases, because each creditor may still file its claim against the

particular estate which allegedly owes it money. Stuery, 94 B.R. at 553-54 (estates of each debtor

remain separate); Parkway Calabasas, 89 B.R. at 836 (debtors’ assets and liabilities are not

merged; creditors look to separate debt or for payment).

       11.     To the contrary, the rights of all creditors will be enhanced by the reduction in cost

resulting from joint administration. The Court will also be relieved of the burden of making



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duplicate orders and keeping duplicate files. Finally, supervision of the administrative aspects of

the Chapter 11 cases by the Office of the United States Trustee will be simplified.

        12.    Accordingly, the Debtors respectfully request that the caption of their cases be

modified to reflect the joint administration of the Chapter 11 cases as follows:

                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

In re                                                          :       Chapter 11
                                                               :
LATEX FOAM INTERNATIONAL, LLC,                                 :       Case No. 19-
PURELATEX BLISS, LLC,                                          :       Case No. 19-
LATEX FOAM INTERNATIONAL HOLDINGS, INC,                        :       Case No. 19-
PLB HOLDINGS, LLC, and                                         :       Case No. 19-
LATEX FOAM ASSETS ACQUISITION, LLC                             :       Case No. 19
                                                               :       Jointly Administered Under
                               Debtors.                        :       19-

        13.    The Debtors also seek the Court’s direction that a notation substantially similar to the

following notation be entered on the docket of each of the above-captioned cases of LFI Holdings,

PLB Holdings, PLB and Acquisition to reflect the joint administration thereof:

               An order has been entered in this case directing the procedural
               consolidation and joint administration of the Chapter 11 cases of Latex
               Foam International, LLC and its affiliates and the docket and case
               number 19-______ should be consulted for all matters affecting this
               case.

        14.    Finally, the Debtors request authority to file monthly operating reports required by the

United States Trustee operating guidelines on a consolidated basis if the Debtors determine, after

consultation with and upon the consent of the United States Trustee, that such consolidated reports

would further administrative economy and efficiency, without prejudice to any party in interest, and

would accurately reflect the Debtors’ financial and operational interrelationships.

        15.    No previous request for the relief sought herein has been made to this or any Court.

        16.    The Debtors do not seek substantive consolidation by this Motion.
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       WHEREFORE, the Debtors respectfully request that the Court enter the Order filed herewith

providing for the joint administration of the respective bankruptcy estates of Latex Foam International

Holdings, Inc., PLB Holdings, LLC, Pure Latex Bliss, LLC and Latex Foam Assets Acquisition, LLC,

pursuant to Federal Bankruptcy Procedure 1015(b) and Local Bankr. R. 1015-1, and grant such other

and further relief as this Court deems just and proper.

       Respectfully submitted this 8th day of August, 2019, at Bridgeport, Connecticut.

                                       LATEX FOAM INTERNATIONAL HOLDINGS, INC.
                                       LATEX FOAM INTERNATIONAL, LLC
                                       PLB HOLDINGS, LLC
                                       PURE LATEX BLISS, LLC
                                       LATEX FOAM ASSETS ACQUISITION, LLC
                                       THE DEBTORS

                                       By:     /s/ James Berman
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                                               Eric Henzy (Federal Bar No. ct12849)
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